     Case 2:18-cv-03325 Document 4 Filed 04/20/18 Page 1 of 3 Page ID #:33




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11
12                            UNITED STATES DISTRICT COURT
13                CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
14
15 Amazon Content Services, LLC;                   Case No. 2:18-cv-03325
   Columbia Pictures Industries, Inc.;
16 Disney Enterprises, Inc.; Netflix               PLAINTIFFS’ CORPORATE
   Studios, LLC; Paramount Pictures                DISCLOSURES AND NOTICE OF
17 Corporation; Sony Pictures Television           INTERESTED PARTIES [FED. R.
   Inc.; Twentieth Century Fox Film                CIV. P. 7.1; LOCAL CIVIL RULE
18 Corporation; Universal City Studios             7.1-1]
   Productions LLLP; Universal Cable
19 Productions LLC; Universal Television
   LLC; Warner Bros. Entertainment Inc.,
20
                Plaintiffs,
21
          vs.
22
   Set Broadcast, LLC d/b/a Setvnow;
23 Jason Labossiere; Nelson Johnson,
                Defendants.
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28   38386939.1
                  PLAINTIFFS’ CORPORATE DISCLOSURES AND NOTICE OF INTERESTED PARTIES
                                         CASE NO. 2:18-CV-03325
     Case 2:18-cv-03325 Document 4 Filed 04/20/18 Page 2 of 3 Page ID #:34




1             Pursuant to Federal Rule of Civil Procedure 7.1 and Local Civil Rule 7.1-1,
2 the undersigned, counsel of record for Plaintiffs Amazon Content Services, LLC;
3 Columbia Pictures Industries, Inc.; Disney Enterprises, Inc.; Netflix Studios, LLC;
4 Paramount Pictures Corporation; Sony Pictures Television Inc.; Twentieth Century
5 Fox Film Corporation; Universal City Studios Productions LLLP; Universal Cable
6 Productions LLC; Universal Television LLC; and Warner Bros. Entertainment Inc.
7 certifies that the following listed parties may have a pecuniary interest in the
8 outcome of this case. These representations are made to enable the Court to evaluate
9 possible disqualification or recusal.
10            1.       Plaintiff Amazon Content Services, LLC is a wholly owned indirect
                       subsidiary of Amazon.com Inc., a publicly traded company;
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              2.       Plaintiff Columbia Pictures Industries, Inc. is a wholly owned indirect
12                     subsidiary of Sony Corporation, a publicly traded company;
13            3.       Plaintiff Disney Enterprises, Inc. is a wholly owned subsidiary of The
                       Walt Disney Company, a publicly traded company;
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15            4.       Plaintiff Netflix Studios, LLC is a wholly owned indirect subsidiary of
                       Netflix, Inc., a publicly traded company;
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              5.       Plaintiff Paramount Pictures Corporation is a wholly owned subsidiary
17                     of Viacom Inc., a publicly traded company;
18            6.       Plaintiff Sony Pictures Television Inc. is a wholly owned indirect
                       subsidiary of Sony Corporation, a publicly traded company.
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              7.       Plaintiff Twentieth Century Fox Film Corporation is a wholly owned
20                     indirect subsidiary of Twenty-First Century Fox, Inc., a publicly traded
                       company;
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              8.       Plaintiff Universal City Studios Productions LLLP is a wholly owned
22                     indirect subsidiary of Comcast Corporation, a publicly traded company;
23            9.       Plaintiff Universal Cable Productions LLC is a wholly owned indirect
24                     subsidiary of Comcast Corporation, a publicly traded company;

25            10.      Plaintiff Universal Television LLC is a wholly owned indirect
                       subsidiary of Comcast Corporation, a publicly traded company;
26
              11.      Plaintiff Warner Bros. Entertainment Inc is a wholly owned indirect
27                     subsidiary of Time Warner Inc., a publicly traded company;
28            12.      Defendant Set Broadcast, LLC d/b/a Setvnow;
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                    PLAINTIFFS’ CORPORATE DISCLOSURES AND NOTICE OF INTERESTED PARTIES
                                           CASE NO. 2:18-CV-03325
     Case 2:18-cv-03325 Document 4 Filed 04/20/18 Page 3 of 3 Page ID #:35




1             13.      Defendant Jason Labossiere;
2             14.      Defendant Nelson Johnson.
3
4 DATED: April 20, 2018                       MUNGER, TOLLES & OLSON LLP
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                                              By: /s/ Kelly M. Klaus
8                                                 KELLY M. KLAUS
9                                             Attorneys for Plaintiffs
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                    PLAINTIFFS’ CORPORATE DISCLOSURES AND NOTICE OF INTERESTED PARTIES
                                           CASE NO. 2:18-CV-03325
